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                                                                           Guidance

 Guidance

 Determining the Need For and Amount of Compensatory
 Education
 Michigan Department of Education Office of Special Education
 March 2020

 Determining the Need for Compensatory Education
 The ordering of compensatory education occurs if, at the conclusion of a state
 complaint, the Michigan Department of Education Office of Special Education (MDE
 OSE) determines that a district failed to provide a Free Appropriate Public Education
 (FAPE) and as a result, the student, who is the subject of the complaint, suffered a loss
 of educational benefit.

 Common indicators that a denial of a FAPE occurred could include, but are not limited
 to:

        1. A delay in the district's child find obligation, which resulted in missed special
           education services.
        2. A student's individualized education program (IEP) was not implemented as
           written.
        3. A student did not have access to the IEP provisions and/or general education
           curriculum for a period of time, due to:
               a. Disciplinary removals
               b. Errors in manifestation determination findings
               c. Child find violations
               d. Lack of provision of accommodations, modifications, and supports
                  indicated in the IEP
 A denial of FAPE does not automatically result in the ordering of compensatory
 education.




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 Determining the Amount of Compensatory Education
 There is no formula for determining the amount of compensatory education that will be
 ordered for a student who was denied a FAPE.

 Once the MDE determines, through the complaint process, that there was a denial of
 FAPE, which had a direct and negative impact on the student's progress, compensatory
 education is ordered. The amount of compensatory education to be ordered must be
 considered on an individual basis and is determined by a team of MDE OSE staff.

 Based on a 9th Circuit Court decision cited in a Michigan due process case, the MDE
 bears in mind:

       Compensatory education is meant to "place children in the position they would
       have been in but for the violation of the Act." Draper v. Atlanta Indep. School
       Sys., 480 F.Supp.2d 1331 (N.D. Ga. 2007), aff'd 518 F.3d 1275 (11th Cir. 2008)
       (cited in B.H. ex rel. B.B. v. West Clermont Bd. of Educ., 788 F. Supp. 2d 682, (S.D.
       Ohio, 2011)).

 A determination of compensatory hours is based on a review of the facts and
 conclusions identified in the complaint and includes the MDE OSE staff paying particular
 attention to:

    1. The actual amount of service hours missed and the level of specialized instruction
       that would have been provided.
          a. Was the missed service provided on a one-to-one basis?
          b. Was instruction in a small group setting? Large group setting?
          c. Was the student removed from school, as an example, for 45 days without
             disciplinary protections/FAPE services?
    2. What is the student's capacity to receive compensatory education hours?
          a. Consider the age of the student, the severity of the disability, the cognitive
             and/or attentional ability, the physical/mental stamina to receive
             additional instruction outside of the school day, and other mitigating
             factors.
    3. Was there a negative impact on the student's progress, and if so, to what extent?
          a. Did the student make progress on annual IEP goals?
          b. Did the student make progress in the general curriculum?
 None of the examples above are part of a formula. Decisions are individualized.




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